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                                    Catherine Ward
                               Case No. 20-34254-H1-13
                         Pre Confirmation Fee Application Notes


1. The Chapter 13 case was filed August 24, 2020.
2. The Chapter 13 case was confirmed May 20,2021.
3. Counsel meet with debtor to refile her case. Her daughter was the person primarily involved
    with her case.
4. On August 25, 2020, Counsel prepared and filed SOFA, current monthly income and pay
    advices.
5. On August 28, 2020, Counsel prepared and filed a Motion to Impose the Stay.
6. Debtor was a retired individual in hospice care. She had filed two cases during 2020 due
    to actions of an alleged petition preparer. She had thought that the cases would be managed
    by the person who came to her home, got her to pay cash and promised to help her. In this
    case, her daughter was to make the trustee payments by a wage deduction and her daughter
    and other children were assisting her with her living expenses and other expenses.
7. On October 9, 2020, Counsel prepared for and attended the creditors meeting. The meeting
    was concluded.
8. On October 15, 2020, Chapter 13 Trustee filed a Motion to Dismiss.
9. Counsel had communications with the debtor’s daughter regarding possible forbearance
    with mortgage company. Counsel prepared an authorization letter for mortgage company.
10. Counsel had communications with the debtor regarding dismissal issues.
11. On November 9, 2020, Chapter 13 Trustee filed an objection to the exemptions.
12. On November 10, 2020, Counsel prepared and filed an amended plan, schedules, wage
    order, notice of amended exemptions and response to the dismissal.
13. On November 12, Trustee filed another objection to the exemptions.
14. Counsel had communications with the debtor’s daughter regarding vehicle valuation and
    other case related issues.
15. On November 19, 2020, the debtor passed away. The debtors daughter assumed
    responsibility over the case.
16. Counsel conferred with the debtor’s daughter on the need to employ a probate attorney.
17. On November 24, 2020, Counsel prepared for and attended the confirmation/dismissal
    hearing. The hearing was reset to January 19, 2021.
18. On January 19, 2021, Counsel prepared for and attended the confirmation/dismissal
    hearing. The hearing was reset to February 16, 2021.
19. On March 16, 2021, Counsel prepared for and attended the confirmation/dismissal hearing.
    The hearing was reset to April 13, 2021. The daughter was obtaining probate counsel.
20. On April 7, 2021, Counsel prepared and filed for both an Application to Employ Special
    Counsel for Probate.
21. On April 12, 2021, Counsel filed the letter testamentary.
22. On April 13, 2021, Counsel prepared for and attended the confirmation/dismissal hearing.
    The hearing was reset to May 25, 2021.
23. On April 26,2021, The Application to Employ was approved.
24. On May 19, 2021, Counsel prepared and filed amended plan, schedules, notice of amended
    exemptions and wage order.
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25. On May 20, 2021, Chapter 13 Trustee withdrew the objection to claim exemptions.
26. On May 20, 2021, the case was confirmed.
